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 1 Kimberly A. Reppart, WSBA #30643
   Alexandra E. Ormsby, WSBA #52677
 2 FORSBERG & UMLAUF, P.S.
   901 Fifth Avenue, Suite 1400
 3 Seattle, WA 98164
   Telephone: (206) 689-8500
 4 kreppart@foum.law
   aormsby@FoUm.law
 5 Attorneys for Defendant

 6                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF WASHINGTON
 7                                       AT SPOKANE

 8 JULIA SMITH, individually,                             No. 2:21-cv-00264

 9                              Plaintiff,                DEFENDANT SAFEWAY INC.'S
                                                          ANSWER AND DEFENSES
10            vs.

11 SAFEWAY INC., a Delaware
   Corporation doing business in
12 Washington,

13                              Defendant.

14

15             Defendant Safeway Inc. answers plaintiff’s Complaint for Damages as

16 follows.

17                                  I.       JURISDICTION AND VENUE

18             1.1        Defendant admits jurisdiction is proper in the United States District

19 Court for the Eastern District of Washington.

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21    DEFENDANT SAFEWAY INC,'S ANSWER AND DEFENSES – PAGE 1
                                                                          FORSBERG & UMLAUF, P.S.
                                                                                  ATTORNEYS AT LAW
      CASE NO. 2:21-cv-00264                                                901 FIFTH AVENUE • SUITE 1400
                                                                            SEATTLE, WASHINGTON 98164
22                                                                         (206) 689-8500 • (206) 689-8501 FAX
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 1             1.2        Defendant admits venue is proper in the United States District Court

 2 for the Eastern District of Washington.

 3                                              II.    PARTIES

 4             2.1        Defendant lacks sufficient information to either affirm or deny the

 5 allegations in paragraph 2.1 of plaintiff’s Complaint and therefore denies the same.

 6             2.2        Admit.

 7             2.3        Admit.

 8             2.4        Admit.

 9                                              III.   FACTS

10             3.1        Admit.

11             3.2        Admit Safeway has duties in accordance with statutory and common

12 law. The remaining allegations in paragraph 3.2 of plaintiff’s Complaint contain

13 legal conclusions that do not require a written response. To the extent a response is

14 required, plaintiff’s allegations are vague. Safeway lacks sufficient information to

15 either affirm or deny such allegations and therefore denies the same.

16             3.3        Admit Safeway has duties in accordance with statutory and common

17 law. The remaining allegations in paragraph 3.2 of plaintiff’s Complaint contain

18 legal conclusions that do not require a written response. To the extent a response is

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21    DEFENDANT SAFEWAY INC,'S ANSWER AND DEFENSES – PAGE 2
                                                                        FORSBERG & UMLAUF, P.S.
                                                                                ATTORNEYS AT LAW
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                                                                          SEATTLE, WASHINGTON 98164
22                                                                       (206) 689-8500 • (206) 689-8501 FAX
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 1 required, plaintiff’s allegations are vague. Safeway lacks sufficient information to

 2 either affirm or deny such allegations and therefore denies the same.

 3             3.4        Deny.

 4             3.5        Admit plaintiff was present at the Safeway store in East Wenatchee on

 5 October 27, 2020. Safeway lacks sufficient information to either affirm or deny the

 6 remaining allegations in paragraph 3.5 of plaintiff’s Complaint and therefore denies

 7 the same.

 8             3.6        Deny.

 9             3.7        Deny.

10             3.8        Admit plaintiff is the party asserting allegations against Safeway.

11                                       IV.    CAUSES OF ACTION

12             4.1        Admit Safeway has duties in accordance with statutory and common

13 law. Deny remaining factual allegations.

14             4.2        Admit Safeway has duties in accordance with statutory and common

15 law. Deny remaining factual allegations.

16             4.3        Admit Safeway has duties in accordance with statutory and common

17 law. Deny remaining factual allegations.

18             4.4        Deny.

19             4.5        Deny.

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21    DEFENDANT SAFEWAY INC,'S ANSWER AND DEFENSES – PAGE 3
                                                                         FORSBERG & UMLAUF, P.S.
                                                                                 ATTORNEYS AT LAW
      CASE NO. 2:21-cv-00264                                               901 FIFTH AVENUE • SUITE 1400
                                                                           SEATTLE, WASHINGTON 98164
22                                                                        (206) 689-8500 • (206) 689-8501 FAX
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 1             4.6        Deny.

 2             4.7        Deny.

 3                                        V.     HARM AND LOSS

 4             5.1        Deny.

 5             5.2        Deny allegations in paragraphs 5.2.1 – 5.2.3.

 6             5.3        Deny allegations in paragraphs 5.3.1 – 5.3.7.

 7             5.4        Deny allegations in paragraphs 5.4.1 – 5.4.3.

 8             5.5        Deny allegations in paragraphs 5.5.1 – 5.5.3.

 9                          VI.    REQUEST FOR EXPEDITED TRIAL DATE

10             Section VI. of plaintiff’s Complaint contains statements which do not require

11 a written response. To the extent a response is required, Safeway denies any factual

12 allegations pertaining to the incident complained of.

13                                    VII. PRAYER OF COMPLAINT

14             Safeway denies plaintiff is entitled to the relief requested in her Prayer of

15 Complaint.

16                                         OMNIBUS DENIAL

17             Defendant denies any unanswered allegations in plaintiff’s Complaint.

18                                              DEFENSES

19             Defendant asserts the following defenses:

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                                                                          FORSBERG & UMLAUF, P.S.
                                                                                 ATTORNEYS AT LAW
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                                                                           SEATTLE, WASHINGTON 98164
22                                                                        (206) 689-8500 • (206) 689-8501 FAX
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 1             1.         Plaintiff’s damages may have been caused, in whole or in part, by

 2 plaintiff’s own comparative fault and/or assumption of the risk.

 3             2.         Plaintiff may have failed to mitigate her damages.

 4             3.         Plaintiff’s damages may have been caused, in whole or in part, by

 5 parties over whom this answering defendant has no control, including plaintiff.

 6 Defendant may be entitled to and requests an allocation of fault pursuant to RCW

 7 4.22.070 and contribution and/or indemnification from any other liable party and/or

 8 non-party pursuant to RCW 4.22.040. Discovery is ongoing.

 9             4.         Defendant may be entitled to an offset and/or setoff for any amounts

10 paid to or on behalf of plaintiff.

11                                           RESERVATIONS

12             Defendant reserves the right to assert defenses and/or amend this answer by

13 adding third-party complaints, cross-claims, or counterclaims as additional facts are

14 learned through discovery.

15                                       PRAYER FOR RELIEF

16             Defendant requests the following relief:

17             1.         That the Complaint be dismissed with prejudice and without taxable

18 costs, and fees awarded to defendant;

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21    DEFENDANT SAFEWAY INC,'S ANSWER AND DEFENSES – PAGE 5
                                                                        FORSBERG & UMLAUF, P.S.
                                                                                ATTORNEYS AT LAW
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                                                                          SEATTLE, WASHINGTON 98164
22                                                                       (206) 689-8500 • (206) 689-8501 FAX
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 1             2.         That defendants’ Answer be amended to conform to proof offered at

 2 the time of trial;

 3             3.         That the Court allocate fault consistent with RCW 4.22; and

 4             4.         For such other and further relief as the Court may deem just and proper.

 5             DATED this 14th day of December, 2021.

 6                                                  FORSBERG & UMLAUF, P.S.

 7
                                                    By:________________________________
 8                                                     Kimberly A. Reppart, WSBA #30643
                                                       Alexandra E. Ormsby, WSBA #52677
 9                                                     Attorneys for Defendant Safeway Inc.

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21    DEFENDANT SAFEWAY INC,'S ANSWER AND DEFENSES – PAGE 6
                                                                         FORSBERG & UMLAUF, P.S.
                                                                                 ATTORNEYS AT LAW
      CASE NO. 2:21-cv-00264                                               901 FIFTH AVENUE • SUITE 1400
                                                                           SEATTLE, WASHINGTON 98164
22                                                                        (206) 689-8500 • (206) 689-8501 FAX
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